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                             DEPARTMENT OF THE NAVY
                      OFFICE OF EQUAL EMPLOYMENT OPPORTUNITY
                            614 SICARD STREET SE SUITE 100
                                                                           EXHIBIT D
                       WASHINGTON NAVY YARD, D.C. 20374-5072




                                     CARRIE THOMAS,
                                       Complainant

                                                v.

                                  THOMAS W. HARKER,
                                       Acting Secretary,
                                 U.S. Department of the Navy

                                   DON No. 20-30270-01839


                       FINAL AGENCY DECISION – MIXED CASE

                                       February 22, 2021

                                  STATEMENT OF CLAIM

Complainant alleged that the Agency subjected her to discrimination on the basis of disability
(mental impairment) when, on October 1, 2019, she was placed on indefinite suspension without
pay.

                                  PROCEDURAL HISTORY

On March 15, 2019, Complainant requested Equal Employment Opportunity (EEO) counseling.
The EEO Counselor sought to resolve Complainant’s allegations to no avail. IF, p. 1406. On
June 3, 2019, the EEO Counselor issued a Notice of Final Interview/Right to File a Formal
Complaint of Discrimination. IF, p. 001423. Complainant filed a formal complaint (DON No.
19-30270-01944) on June 19, 2019, pursuant to the Rehabilitation Act of 1973 (Rehabilitation
Act), as amended, which was partially accepted on August 9, 2019. IF, pp. 0001430-0001432.
Complainant amended her Complaint on October 25, 2019 to include the instant complaint. By
letter dated May 1, 2020, the Department of the Navy (Agency) accepted the amended complaint
pursuant to the Equal Employment Opportunity Commission’s (EEOC’s) Regulations found in
Title 29 Code of Federal Regulations (29 C.F.R.) Part 1614. IF, pp. 000019-000020. Through
this letter, the Agency advised that the matter at issue in the request to amend is properly
processed as a “mixed case” complaint, explaining that a “mixed case” complaint is a
discrimination complaint filed with a federal agency alleging discrimination based on race, color,
religion, sex, national origin, age, disability, genetic information or reprisal for protected EEO
activity, that is related to or stemming from an action that may be appealed to the Merit Systems
Protection Board (MSPB). Accordingly, the Agency bifurcated the claims and processed the
underlying claim under DON No. 20-30270-01839. The Agency further advised that upon
conclusion of the formal investigation, we would issue a final decision based on the merits of
this complaint along with notice of right to appeal to the MSPB.
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The Department of Defense, Investigations and Resolutions Directorate conducted a formal
investigation of this complaint from May 6, 2020 to July 31, 2020. IF, p. 000043. Agency
records reveal that we provided Complainant a copy of the Investigative File (IF) on August 7,
2020. IF, p. 001316. As this complaint constitutes a “mixed case,” we once again advised
Complainant that the MSPB has jurisdiction over an allegation of discrimination related to a
matter appealable to the MSPB and that the Agency will issue a final agency decision (FAD)
with appeal rights to the MSPB.

Accordingly, we are issuing this final decision based on the merits of the complaint pursuant to
29 C.F.R. § 1614.302.

                                                BACKGROUND

During the relevant period, Complainant was employed as a Business Financial Manager, NH-
0501-IV, with the Agency’s NAVSEA since October 19, 2014. Complainant’s first-line
supervisor was RMO1, Director, Contracts and Business Operations, Surface Ship Weapons,
PEO, IWS, 3E, since March 22, 2017. Complainant’s second-line supervisor was RMO2,
Deputy Major Program Manager (DMPM) PEO, IWS, 3, since approximately March 22, 2017.
According to Complainant’s medical records and her own statements, her disabling medical
conditions include Major Depression Disorder, General Anxiety Disorder and Obsessive-
Compulsive Disorder; she also suffers from symptoms associated with Attention Deficit
Disorder and Gastrointestinal conditions. IF, pp. 000053-000075. Complainant averred that
RMO1 and RMO2 were the Agency officials responsible for discriminating against her. IF, p.
000064.

The record reveals that on May 10, 2019, Complainant received a Notice of Intent to Suspend
Access to Classified Information and Assignment to a Sensitive Position and Suspension of
Physical Access to Naval Sea Systems Headquarters Facilities at the Washington Navy Yard
(Notice). IF, p. 359-363. The Notice identified the following reasons for its issuance:

    a. Documented workplace conduct of habitual tardiness and absences, lack
       of candor regarding tardy incidents and absences, and failure to
       appropriately document absences from the workplace, which resulted in
       disciplinary action.1

    b. Self-described mental health illnesses, to include psychiatric disorders,
       depression disorder, anxiety (repeated exclamations of living in or
       consumed with fear), opioid use/withdrawal, stress, attention deficit
       disorder, problems with concentration or memory, time management
       issues, and suicidal ideations (repeated exclamations like “no desire to
       continue living like this”).

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 We note that matters specifically addressing Complainant’s conduct and subsequent disciplinary actions are being
adjudicated under the bifurcated complaint, DON No. 19-30270-01944, through which she alleged the disciplinary
actions in dispute were the result of discrimination based on disability and reprisal. Any references to said matters
herein serve as background information only.

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   c. Medical documentation of treatment for a number of mental health
      disorders to include receiving frequent and continuous treatment and
      medication to manage condition, to include obsessive-compulsive
      disorder, generalized anxiety disorder, major depression disorder, attention
      deficit hyperactivity disorder, and suicidal ideations (repeated
      exclamations like “I can't live like this any longer”).

   d. Documented prescribed medications for treatment of mental health issues
      with unknown side/causal effects, and failure to take prescription
      medications as prescribed. You provided numerous prescription labels
      with a wide variety of potential side/causal effects, but no documentation
      of whether you are suffering any side/causal effects of these prescribed
      medications. You recently notified my office that you have stopped taking
      prescribed medications for your mental health conditions on your own
      initiative against the advice of your medical providers.

   e.    Documented display of erratic behavior and emotional swings while in
        the workplace.

        IF, pp. 000359-000360.

The Notice also indicated Complainant’s failure to report her mental health illnesses and the
changes in her mental health illnesses to security prior to April 2019 as additional reasons for
issuance. The Notice specifically referenced reported incidences of suicidal ideations,
Complainant’s conduct and subsequent disciplinary action, the scope of self-described mental
health conditions, scope of documented mental health conditions, the amount of prescribed
medicines for mental health conditions with unknown side/causal effects, the non-adherence to
prescribed medications, and Complainant’s workplace behavior, impacted and raised questions
about Complainant’s ability to protect classified information and continued suitability for
security clearance eligibility. The Notice further indicated that Complainant’s suicidal ideations
raised concerns as to the threat she may pose to herself or others. The Notice stated that Personal
Conduct, Drug Involvement, and Psychological Conditions are three of the adjudicative factors
criteria underlying references (a) and (b). Finally, the Notice informed Complainant that if the
final determination regarding her access to information was not favorable, the temporary
suspension would remain in effect pending final adjudication by the Department of Defense
Consolidated Adjudication Facility (DoD CAF). Complainant was provided the opportunity to
provide a response, which she did in writing and was accepted as timely by the NAVSEA
Security Office. IF, pp. 000259-000361.

On May 10, 2019, Complainant was also notified via letter that she was being placed on paid
administrative leave for the reasons explained in the Notice, and informed that administrative
leave was found to be appropriate to the circumstances. IF, pp. 000355-000357. The letter also
referred to a reference (a), entitled, “SECNAVINST 12752.lA, Disciplinary Actions, of 3 May 6,
2016, with change transmittal CH-1 of 6 Nov 2017”. IF, pp. 0001555-000157.




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Through a letter dated July 15, 2019, Complainant was notified of the decision to Suspend
Access to Classified Information and Assignment to a Sensitive Position and Suspension of
Physical Access to Naval Sea Systems Headquarters Facilities at the Washington Navy Yard.
The letter informed Complainant of the determination that her response to the Notice did not
mitigate the command’s concerns regarding her ability to safeguard classified information and
continued assignment to a sensitive position. IF, pp. 000155-000157.

On August 8, 2019, RMO1 issued Complainant Notice of Proposed Indefinite Suspension for
failure to maintain a condition of employment; specifically, failing to maintain access to
classified information and assignment to sensitive position. IF, pp. 000174-000180.

On September 30, 2019, RMO2 notified Complainant of his Decision to Indefinitely Suspend
Access to Classified Information and Physical Access to her workplace and the Washington
Navy Yard. Through this Decision, RMO2 notified Complainant that she was being placed on
indefinite suspension for “failure to meet a condition of employment, i.e., suspension of your
access to classified information and assignment to a sensitive position.” The Notice, informed
that Complainant was to be on suspension until her Secret Security Clearance is either reinstated
or until the final decision is made to revoke her Clearance. IF, pp. 000189-000199.

                                  STATEMENT OF FACTS

As background information, Complainant reports that on December 4, 2018, she had a meeting
with RMO2 regarding her request for accommodations, during which she disclosed her disorders
while explaining why she required accommodations; SEC1, head of IWS3 Security was in
attendance. IF, p. 000065. She adds that on March 5, 2019, 99 days after her original formal
request for accommodation was submitted, she received a 10-page document from RMO1
requesting additional medical information from her doctors before a decision could be made on
the request. IF, p. 000066.

Complainant averred that when she received the letter suspending her access to classified
information and assignment to a sensitive position, she was told that the documentation she had
submitted in response did not mitigate the three issues as stated in the letter. She questioned why
she was not asked for clarification of the “inconsistencies and contradictions” that allegedly did
not mitigate the Command’s concerns regarding her ability to safeguard classified information.
Complainant contended that after many requests, she was never told why her medical
documentation did not meet the mitigating factors. Complainant argued that RMO2 could have
reassigned her to a position that did not require a security clearance, yet he chose not to.
Complainant asserted her belief that RMO2 confused a lack of policy with the inability or
willingness to do what he must have known was the right thing. She stated that when she
requested to be sent to a new command, RMO2 responded with words to the effect, “How can I
tell another code, I’ve got this great employee, who can’t manage to get to work on time. I can’t
put you off on someone else like that.” IF, pp. 000051-000056.

Complaint averred that had the Agency accommodated her disabilities, she would not have
received any punitive letters or disciplinary actions, and thus the Agency would not have



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initiated the process resulting in her being placed on Indefinite Unpaid Leave.2 She further
maintained that she was unaware that she should have been sharing information about changes to
her medical conditions with NAVSEA Security. She also purported that she was never provided
any proof supporting the allegation that she abused drugs. Complainant adds that she requested
reassignment while she was on paid administrative leave and her request was denied. IF, pp.
000058-000062.

Management’s Response

RMO1 (no disability), Principal Assistant Program Manager/Director, Contracts and Business
Operations, PEO IWS, Surface Ship Weapons (3.0) NAVSEA, Arlington, Virginia, stated her
first-line supervisor was RMO2, Deputy Program Manager. RMO1 denied Complainant was
discriminated against due to her disability when she was placed on indefinite suspension without
pay. She averred the action was taken because Complainant did not maintain a condition of
employment, as she failed to maintain access to classified information and assignment to a
sensitive position; issuance of a Notice of Decision to Suspend her Clearance by NAVSEA
Security followed on July 15, 2019. RMO1 declared she was not involved in the NAVSEA
decision process. RMO1 contended Complainant was well aware of requirements to report any
mental health changes or issues to Security, having been informed in several ways (e.g., via 1-
on-1 meetings wherein RMO1 maintained she told Complainant to self-identify any changes,
Annual Security refresher training conducted by SEA00P, as well as through Total Workforce
Management Services (TWMS) which all employees are required to take). RMO1 further
relayed that that Complainant acknowledged awareness of requirements to report to Security.
RMO1 confirmed Complainant had identified a list of other NAVSEA Commands to which she
would consider moving, even at a lower pay grade, but maintained such a move was dependent
on the review of her security clearance for all identified Commands. IF, pp. 000266-000282.

RMO2 (no disability), Deputy Program Manager, PEO IWS 3.0, US Navy, Arlington, VA,
denied Complainant was discriminated against; stressing that his decision to indefinitely suspend
Complainant was based on her inability to obtain and maintain a SECRET security clearance.
He maintained he is not aware of what specific instances NAVSEA Security considered in
making their decision to revoke Complainant’s security access beyond what is written in
RMO3’s Notice of Decision to Suspend Access to Classified Information. RMO2 stated he did
not forward information to DoD CAF or the PSAB regarding Complainant, and declared he is
not aware of who submitted a list of medications Complainant was taking and her psychiatrist’s
letter(s), or who determined Complainant’s drug involvement was a problem. RMO2 contended
he has no knowledge of the documentation regarding Complainant’s inappropriate drug
involvement that adversely impacted her ability to retain her access to classified information and
to retain a sensitive position or how she deviated from the approved medical direction of her
doctor. RMO2 maintained he is not aware of Complainant’s psychological conditions that
adversely impacted her ability to retain her access to classified information or to retain a
sensitive position. RMO2 testified he was not involved in the Security team’s decision to revoke

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  Complainant provided a timeline of events that detailed her continued efforts beginning April 27, 2017 to obtain
accommodations for her disabilities while under RMO1’s supervision. This timeline includes dates on which she
was issued the various disciplinary actions at issue in her formal complaint (DON 20-30270-01944) from which the
instant complaint was bifurcated.

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Complainant’s security access. RMO2 declared he is not aware of anyone who has had their
security clearance suspended indefinitely and kept in a pay status while their suspended
clearance was with DoD CAF or the PSAB. RMO2 averred he was aware Complainant had
identified a list of other NAVSEA Commands to which she would consider moving, but
reassignment was not an option because of her security posture. IF, pp. 000286-000291.

RMO3 (disability not disclosed), Director of Security Programs, NAVSEA, Washington Navy
Yard, Washington, DC, declared Complainant’s indefinite suspension was a matter for
Complainant’s supervisory chain of command and as such, he was not involved and made no
recommendations. He averred that SECNAV M-5510.30 and Security Executive Agent
Directive 4 were followed in making his decision to suspend Complainant’s access to a sensitive
position and to NAVSEA buildings. RMO3 maintained the decision to suspend Complainant’s
access to classified information and assignment to a sensitive position was made after
consideration of the totality of reported activity and concerns delineated in the Notice of Intent to
Suspend Access to Classified Information and Assignment to a Sensitive Position and
Suspension of Physical Access to Naval Sea Systems Headquarters Facilities at the Washington
Navy Yard, District of Columbia, and Program Executive Office Facilities in Arlington Virginia
(“Notice of Intent to Suspend”). Specifically, he averred Complainant’s reported incidences of
suicidal ideations, her conduct and subsequent disciplinary action, the scope of her self-described
mental health conditions, the scope of documented mental health conditions, the amount of
prescribed medicines for mental health conditions with unknown side/causal effects, the non-
adherence to prescribed medications, and her workplace behavior, raised questions about her
ability to protect classified information and continued suitability for security clearance eligibility.
He contended that the Notice of Intent to Suspend further indicated Complainant’s suicidal
ideations raised concerns as to the threat she may pose to self or others. RMO3 maintained, in
response to the Notice of Intent to Suspend, Complainant stated, “I can understand, based on the
information you were provided, why there may have been a concern and therefore, a need to
contact me about these issues. It is my most sincere apologies that I overlooked submitting this
vital information to security…Again, I fully understand what was done, and can appreciate why
the command felt it necessary.” RMO3 stated the medical documentation Complaiant provided
did not mitigate concerns regarding her ability to safeguard classified information and
assignment to a sensitive position; he did not consider it. Rather, the matter was referred to the
DoD CAF for competent medical/psychological assessment and adjudication. RMO3 states
Complainant’s disability was not taken into consideration when the decision was made to
suspend her security clearance and access to the NAVSEA buildings. IF, pp. 000291-000302.

RMO4 (no disability), Employee Relations Specialist, Labor-Employee Relations, NAVSEA,
Washington Navy Yard, Washington, DC, stated he assisted RMO1 with drafting the proposed
indefinite suspension, and RMO2 in preparing the decision on the proposed suspension. He
relayed that a search was not conducted to ascertain if a non-sensitive position was available for
which Complainant was qualified that would have kept her on the payroll until her security
clearance was adjudicated since DON has no official policy requiring such. He explained that
every employee is kept on payroll while their clearances are being adjudicated unless their
clearance has been suspended or revoked, as in this case, at which time they are put in an
indefinite suspension without pay status pending the outcome of the adjudication process. He
maintained he is not aware of anyone being kept in a pay status while their clearance was being

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adjudicated by DoD CAF or PSAB. RMO4 stated NAVSEA is responsible for determining
whether an employee’s medical documentation, submitted from a physician/psychiatrist,
warrants suspension of the employee’s ability to access classified information and assignment to
a sensitive position and suspension of physical access to NAVSEA HQ facilities. IF, pp. 000310-
000313.

SEC (no disability) NH-0343-03, PEO IWS 3.0, Chief of Staff and Assistant Security Manager,
NAVSEA, Arlington, VA, averred she has been employed by NAVSEA for 9.5 years; 2010-
2017 as a support contractor and since August 2015 as a government civilian. She averred she
became aware Complainant claimed she had a disability in a meeting on April 9, 2019. In
response to whether Complainant had been reported as being suicidal, having mood swings,
and/or other claims, she states that RMO1 reported her concerns about Complainant to RMO3
and his team on April 5, 2019, and she was subsequently copied on the email. SEC averred she
was not involved in the decision to suspend access to Complainant and to her knowledge,
Complainant was not at any time subjected to harassment and/or discriminated against based on
her disabilities. IF, pp. 000139-000141.

Documentary Evidence

Included in the record evidence is an unsigned declaration purported by Complainant to be
written by CW1 (disability unknown, EEO activity unknown), IWS 3E, alleging the
following:

              On Monday, September 17, 2018, at approximately [7:00am],
              [RMO1] came over to my desk. She had just finished talking to
              one of the government employees on her staff for approximately
              three hours. [RMO1] proceeded to “vent” to me about her
              employee, beginning with the fact that she was “finally able to get
              rid of her after three hours.” I knew a bit about the employee,
              given that I had been assigned to cover her “Cost of Funds” (CoF)
              efforts while she was out. The email that I included with this report
              contains the comment that [RMO1] made regarding the employee
              seeking “treatment”; so I already knew that detail about the
              employee. [RMO1] essentially spent about 30 minutes or so
              complaining to me about the employee, her poor performance and
              a few of the accommodations that she wanted (which [RMO1] said
              she declined), the fact that she came back from therapy “happy and
              well-behaved” but that now she was “relapsing,” and that she
              “doesn’t belong here.” She also told me that the employee was on
              two medications that apparently did not go well together; so that
              when she was on one her other ailment was an issue, and vice
              versa. She told me a little about the employee’s history in the Air
              Force, and that a family member had been suicidal, and that she
              was given a position over here, but that it wasn’t working out.
              [RMO1] further said that she thought the employee should find
              something else, but that she did not have a lot of flexibility because

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                 her husband was unemployed. [RMO1] commented that the
                 employee’s husband needed to “get off his ass and find a job.”
                 Given the very personal nature of the information, especially the
                 medical information, I was very uncomfortable being the recipient
                 of RMO1’s “venting”. The employee knows that I know some
                 things, as the email was part of the package that I initially sent her
                 to let her know what I had done with respect to the CoF effort thus
                 far. So, she has the offending email; and she has spoken to me
                 about it, so she knows that I know more. I am writing this report to
                 make sure that this event is recorded. I have reason to distrust
                 [RMO1] regarding this incident; and I want to make sure that I
                 provide my chain of command with the details as soon as possible.
                 I also have every reason to believe that [RMO1] will retaliate
                 against me in some way for this report, or if she knew that her
                 employee had spoken to me.

IF, p. 001380.

The record evidence includes an email from RMO1 to CW1 dated July 19, 2018, discussing
tasks that CW1 had taken over while Complainant was on leave. IF, pp. 000390-000391.
Specifically, RMO1 stated in her email to CW1, “I've been trying to get my gov’t employee to
complete a task, any task, but I’ve been struggling ….. [I] [j]ust didn’t have an opportunity to
break the cord until the employee decided to seek treatment for three weeks, but now I do.” IF,
p. 000064.

As set forth above, the record also includes the September 30, 2019, Notice of Decision to
Indefinitely Suspend, issued (by direction) by RMO2; the August 8, 2019, Notice placing
Complainant on paid administrative Leave, issued by RMO1; and the May 10, 2019, Notice of
Intent to Indefinitely Suspend Access to Classified information and Assignment to a Sensitive
Position and Suspension of physical access, issued by RMO1. IF, pp. 000330-000332, 000353-
000355, 000357-000360.

Complainant’s written reply to the Notice of Intent to Indefinitely Suspend Access to Classified
information and Assignment to a Sensitive Position and Suspension of physical access, issued to
Complainant on May 10, 2019 by RMO1 is located at IF, pp. 000362-000364.

Included in the record evidence is a copy of DoD manual 5200.02, Procedures For the DoD
Personnel Security Program (PSP) (April 3, 2017). The following sections relevant to the
investigation include the following:

                 Section 11.3. ADDITIONAL REPORTING REQUIREMENTS
                 FOR INDIVIDUALS WITH ACCESS TO SCI INFORMATION.

                 Individuals with access to SCI information will comply with
                 reporting requirements identified in Volume 3 of DoDM 5105.21.



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              Section 11.5. POST-ADJUDICATION ISSUES.

              Upon receipt of a report of adverse information from any source,
              an adjudicator will evaluate the report and determine whether post-
              adjudicative actions are required. If the adjudicator’s review
              determines the reported information is not adequate or detailed
              enough to make an eligibility determination, the adjudicator may
              employ authorized means (e.g., requests for special investigations,
              interrogatories, contacts with subjects and employers, requests for
              information from security professionals, requests for medical or
              psychological evaluation, and record searches) to obtain additional
              information to make an eligibility determination. IF, p. 000724.

The record also includes statements from Complainant’s physicians confirming her diagnoses of
the following conditions on or around August 1, 2018: Major Depressive Disorder, General
Anxiety Disorder, Panic Disorder, and Obsessive Compulsive Disorder, Cervical radiculopathy,
cervical spondylosis, and cericalgia. One physician’s statement was submitted as part of a
request for extended leave under the Family Medical Leave Act (FMLA) due to a sufficiently
severe diagnosis of Major Depressive Disorder, General Anxiety Disorder, and Obsessive
Compulsive Disorder, which required treatment in a hospital setting (Partial Hospital Program
(PHP)) because Complainant at that time was unable to concentrate and focus due to a
psychiatric condition. The PHP occurred five days a week for six hours a day. IF, pp. 000423,
000445, 001390-001398.

The record includes medical documentation dated January 3, 2015, wherein Complainant was
diagnosed with Adjustment disorder with Mixed Anxiety and Depressed Mood, and
incontinence. IF, p. 000455.

The record evidence contains several performance appraisals issued to Complainant by her
supervisors, effective January 1, 2017, issued by Complainant’s supervisor, that shows she met
or exceeded the expected performance level required by the Agency. IF, p. 001528.

Included in the record is a signed copy of Complainant’s Physician’s statement on letterhead of
one of Complainant’s physicians (DCT), addressed to NAVSEA Security office, Human
Resources, and “anyone else with a need-to-know”, transmitted via fax to the appropriate
management officials on May 28, 2019. The statement included a detailed overview of
Complainant’s current psychiatric medications and side-effects, current diagnoses and symptoms
of mental illnesses, and suggested appropriate reasonable accommodations. Through this
document, DCT also strongly emphasized the following to the Security Office:

              I would like to dispel several items [Complainant] has shared with
              me, as alleged by her employer:

                  -   She has never shown any signs of being suicidal, or having
                      ideations of suicide.



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                    -   She has never shown any signs of being aggressive,
                        irrational, nor a harm to herself or others around her. …
                    -   I would not consider her a threat to any type of security
                        protocol(s), her co-workers, nor her country. …
                    -   I’ve seen the effort [Complainant] is willing to put into her
                        treatment (and has accomplished in the past), provided the
                        proper environment, tools, medication, and therapy, she has
                        a high probability of success.

 IF, p. 001794.

                                       LEGAL ANALYSIS

                                          Applicable Law

 The Rehabilitation Act prohibits employment discrimination against federal employees with
 disabilities. 42 U.S.C. § 12112(a) (2012). The Rehabilitation Act incorporates the standards of
 the ADA Amendments Act (ADAAA) of 2008. These standards prohibit discrimination against
 a qualified individual on the basis of disability. § 12112(a).

 An indefinite suspension lasting more than 14 days is an adverse action appealable to the Merit
 Systems Protection Board (MSPB) under 5 U.S.C. § 7513(d). 5 U.S.C. § 7512(2). Generally, the
 Board may only review: (1) whether the employee’s position required a security clearance; (2)
 whether the clearance was denied or revoked; and (3) whether the employee was provided with
 the procedural protections specified in 5 U.S.C. § 7513. See, Hesse v. Department of State, 217
 F.3d 1372, 1376 (Fed. Cir. 2000) (citing Department of the Navy v. Egan, 484 U.S. 518, 530-31
 (1988)).

 Here, Complainant maintains her indefinite suspension was the direct result of the Agency’s
 engagement in the prohibited personnel practice of disability discrimination.

 Disparate Treatment

 A claim of disparate treatment is examined under the three-part analysis first enunciated in
 McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). For a complainant to prevail, he/she
 must first establish a prima facie case of discrimination by presenting facts that, if unexplained,
 reasonably give rise to an inference of discrimination, i.e., that a prohibited consideration was a
 factor in the adverse employment action. See McDonnell Douglas, 411 U.S. at 802; Furnco
 Construction Corp. v. Waters, 438 U.S. 567 (1978). The burden then shifts to the agency to
 articulate a legitimate, nondiscriminatory reason for its actions. See Texas Department of
 Community Affairs v. Burdine, 450 U.S. 248, 253 (1981). Once the agency has met its burden,
 the complainant bears the ultimate responsibility to persuade the fact finder by a preponderance
 of the evidence that the agency acted on the basis of a prohibited reason. See St. Mary's Honor
 Center v. Hicks, 509 U.S. 502 (1993).




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 Prima Facie

 In order to establish a prima facie case of disparate treatment, a complainant must generally
 show (1) membership in a protected class, (2) an employment situation comparable to that of
 other employees not of the same protected class, and (3) treatment that is different than that
 experienced by those other employees with respect to the terms, conditions, or benefits of
 employment. McDonald v. Santa Fe Trail Transportation Co., 427 U.S. 273 (1976); Scott v.
 Secretary of Defense, EEOC Appeal No. 01902727 (September 24, 1990).

 Employees are in comparable employment situations when it is reasonable to believe that they
 would receive the same treatment in the context of a particular employment decision. See,
 Lindemann & Grossman, Employment Discrimination Law, 3rd Ed., Chapter 2, pp. 30-33 (1996).
 In order for comparative employees to be considered similarly situated, all relevant aspects of the
 complainant's situation must be nearly identical to those of the comparative employees. O'Neal
 v. Postmaster General, EEOC Request No. 05910490 (July 23, 1991); Powell v. Postmaster
 General, EEOC Appeal No. 01911979 (November 25, 1991). Thus, in order to be similarly
 situated, the comparative employees must have dealt with the same supervisor and have been
 subject to the same standards. Mitchell v. Toledo Hospital, 964 F.2d 577 (6th Cir. 1992).

 Even in cases where there are no similarly situated employees, a complainant may be able to
 establish a prima facie case by showing: (1) membership in a protected class, (2) the occurrence
 of an adverse employment action, and (3) some evidence of a causal relationship between
 membership in the protected class and the adverse action. Ward v. U.S. Postal Service, EEOC
 Request No. 05920219 (June 11, 1992), citing Potter v. Goodwill Industries of Cleveland, 518
 F.2d 864, FEP Cases (6th Cir. 1975) and Leftwich v. United States Steel Corporation, 470 F.
 Supp. 758 (W.D. Pa. 1979).

 Management Response

 If a prima facie case is established, the burden shifts to the agency to articulate a legitimate,
 nondiscriminatory reason for the challenged action. McDonnell, 411 U.S. at 802; Burdine, 450
 U.S. at 253-54. The agency’s burden is met by simply proffering evidence that raises a genuine
 issue of fact as to whether it retaliated against the complainant. This is not a burden of
 persuasion, but rather a burden of production to “clearly set forth, through the introduction of
 admissible evidence, the reasons for [its employment decision].” Burdine, 450 U.S. at 254-55.
 Evidence of a legitimate, nondiscriminatory reason must be sufficient to allow the trier of fact
 rationally to conclude that the agency's action was not based on unlawful discrimination.
 Nguyen v. Gen. Servs. Admin., EEOC Appeal No. 0120101852, 3 (Sept. 28, 2011). This burden
 is not onerous, but must “provide a specific, clear, and individualized explanation.” Kathy D. v.
 Dep’t of Labor, EEOC Appeal No. 0120141643, 2 (July 19, 2016).


 Pretext

 Once the agency produces evidence of a legitimate, nondiscriminatory reason, the presumption
 raised by the prima facie case disappears, and the agency will prevail unless the complainant

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 proves, by a preponderance of the evidence, that the legitimate reasons articulated by the agency
 were not its true reasons but were, instead, a pretext for discrimination. St. Mary’s, 509 U.S. at
 519; Burdine, 450 U.S. at 256. To prove a reason is pretext for retaliation, a complainant must
 show that the reason was false, and that retaliation was the real reason. St. Mary’s, 509 U.S. at
 515. Therefore, the fact finder must both disbelieve the employer’s articulated reason and
 believe complainant’s explanation that unlawful retaliatory animus motivated the agency’s
 actions. St. Mary’s, 509 U.S. at 519. To prove pretext, it is not enough to simply disagree with
 the agency’s actions. Alexandria P. v. U.S. Postal Serv., EEOC Appeal No. 0120150286, 4 (Oct.
 20, 2015). EEO laws “cannot prevent employers from making decisions that their employees
 disagree with, unless those decisions are rooted in a statutorily proscribed motivation.” Emilia
 Z., EEOC Appeal No. 0120142952 at 3. Additionally, mere assertions, speculations, unsupported
 beliefs, or conclusory answers are not enough to establish pretext. Complainant v. Dep’t of
 Homeland Sec., EEOC Appeal No. 01020133401, 3 (May 7, 2015); Complainant v. Dep’t of
 Agric., EEOC Appeal No. 0120130270, 3 (Sept. 18, 2015).

                                             Analysis

 To sustain an indefinite suspension, the Agency must show: (1) it imposed the suspension for an
 authorized reason; (2) the suspension has an ascertainable end, i.e., a determinable condition
 subsequent that will bring the suspension to a conclusion; (3) the suspension bears a nexus to the
 efficiency of the service; and (4) the penalty is reasonable. Sanchez v. Department of Energy,
 117 M.S.P.R. 155, ¶ 9 (2011).

 Here, Complainant generally maintains that the suspension at issue was based on her mental
 disability; arguing that had the Agency provided her reasonable accommodations, there would
 have been no reason to review her eligibility to maintain the security clearance required for her
 position. Thus, Complainant asserts that the Agency imposed the suspension based on
 discriminatory animus based on her disability.

 Element 1: Did the Agency impose the suspension for an authorized reason?

 Pursuant to 5 U.S.C. § 7701(c)(2)(B), the agency’s decision may not be sustained if the
 employee or applicant for employment shows that the decision was based on any prohibited
 personnel practice described in section 2302(b) of this title, which prohibits personnel actions
 that discriminate based on disability, among other protected bases. Thus, as an initial matter, we
 must determine whether Complainant establishes that she was subjected to disability
 discrimination.

 Disparate Treatment based on Disability:

 To establish a prima facie case of disability discrimination under a disparate treatment and/or a
 failure to accommodate theory, Complainant must demonstrate that: 1) she is an “individual with
 a disability” as defined in 29 C.F.R. § 1630.2(g); 2) she is a “qualified individual with a
 disability” as defined in 29 C.F.R. § 1630.2(m); and (3) she was subjected to an adverse
 personnel action under circumstances giving rise to an inference of disability discrimination



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 and/or denied a reasonable accommodation. See Prewitt v. United States Postal Service, 662
 F.2d 292 (Cir. 1981).

 Element 1: Individual with a Disability?

 In order to assert a viable claim of disability discrimination, a complainant must satisfy the
 threshold requirements that he or she is a “person with a disability” as that term is defined in the
 applicable statutes and Equal Employment Opportunity Commission regulations. Title 42,
 United States Code, Section 12102(1) and 29 C.F.R. §1630.2(g)(1) define a person with a
 disability as an individual who: (i) has a physical or mental impairment which substantially
 limits one or more of that person’s major life activities (referred to elsewhere in the regulations
 as “actual disability”); (ii) has a record of such an impairment; or (iii) is regarded as having such
 an impairment. See 29 C.F.R. § 1630.2(g)(1)-(3). See also Melahn v. Department of the Navy,
 EEOC Appeal No. 01832380 (October 21, 1985). Whether an individual has a disability is not
 based on the name or diagnosis of the impairment involved but rather the effect which that
 impairment has on the individual.

 A physical or mental impairment is defined as: (1) any physiological disorder or condition,
 cosmetic disfigurement, or anatomical loss affecting one or more body systems, such as
 neurological, musculoskeletal, special sense organs, respiratory (including speech organs),
 cardiovascular, reproductive, digestive, genitourinary, immune, circulatory, hemic, lymphatic,
 skin, and endocrine; or (2) any mental or psychological disorder, such as an intellectual
 disability, organic brain syndrome, emotional or mental illness, and specific learning disabilities.
 29 C.F.R. § 1630.2(h).

 The impairment must substantially limit the complainant, or significantly restrict him or her as to
 the condition, manner, or duration under which he performs a particular major life activity as
 compared with the performance of the average person in the general population. See 29 C.F.R. §
 1630.2(j)(1)(ii). Major life activities include, but are not limited to, such functions as caring for
 one's self, performing manual tasks, walking, seeing, hearing, speaking, breathing, learning, and
 working. 29 C.F.R. § 1630.2(i)(1)(i). Major life activities also include the operation of a major
 bodily function, including functions of the immune system, special sense organs and skin;
 normal cell growth; and digestive, genitourinary, bowel, bladder, neurological, brain, respiratory,
 circulatory, cardiovascular, endocrine, hemic, lymphatic, musculoskeletal, and reproductive
 functions. 42 U.S.C. §12102(2)(B) and 29 C.F.R. § 1630.2(i)(1)(ii).

 The Americans with Disabilities Act Amendments Act of 2008 (ADAAA) and its implementing
 regulations create nine “Rules of Construction” to be applied to determine whether or not an
 impairment is substantially limiting. 42 U.S.C. §12102(4) and 29 C.F.R. §1630.2(j)(1). Besides
 calling for broad and consistent coverage and an “individualized assessment”, the rules provide
 that an impairment is disabling if it substantially limits an individual’s ability to perform a major
 life activity in comparison to “most people in the general population.” In making this
 comparison, the regulations call for consideration of the difficulty, effort, or time required by the
 individual to perform the major life activity; the length of time the activity can be performed; the
 way in which the major life activity is affected by the impairment involved; and the non-
 ameliorative effects of mitigating measures such as the side effects of medication. See 29 C.F.R.

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 §1630.2(j)(4). This regulation also makes clear that the focus should be on the effort required
 not the outcome that can be achieved by the individual with the impairment.

 In addition, an impairment need only affect one major life activity to be substantially limiting; an
 impairment need not “significantly restrict” in order to be substantially limiting; and a
 determination concerning the application of the term should not require “extensive analysis” and
 not usually require scientific, medical, or statistical analysis. The rules also state that episodic
 impairments or those in remission can be substantially limiting if they would be so when they are
 active and that even conditions which have less than a six-month duration could be substantially
 limiting. Significantly, the Commission states in its regulations that the application of these rules
 of construction to certain medical conditions will “… in virtually all cases, result in a
 determination of coverage…” when assessing a possible “actual disability” (as distinguished
 from a “regarded as” disabled) situation. See 29 C.F.R. §1630.2(j)(3), Predictable Assessments.

 The ADAAA eliminated consideration of the ameliorative effects of mitigating measures when
 determining whether or not an impairment is substantially limiting except for consideration of
 ordinary eyeglasses or contact lenses intended to correct visual acuity or eliminate refractive
 error. Mitigating measures include medication; medical supplies, equipment, or appliances;
 assistive technologies; low vision devices; hearing aids and implants; mobility devices; oxygen
 therapy equipment and supplies; prosthetics; and “reasonable accommodations or auxiliary aids
 or services”, e.g. interpreters or readers or the modification of equipment. See 42 U.S.C.
 §12102(4)(E) and §12103 and 29 C.F.R. §1630.2(j)(5) and (6).

 A generalized assertion, without specific evidence to support it, that an individual is substantially
 limited is not sufficient to satisfy a complainant’s burden of proof. Jenkins v. U.S. Postal
 Service, EEOC Appeal No. 01954572 (March 24, 1997). It is also not enough that the agency is
 in possession of a diagnosis; that an individual’s supervisor knows that they have a particular
 condition; that the complainant has an approved claim with the Office of Workers Compensation
 Programs; or that the complainant has a percentage disability awarded by the Department of
 Veterans Affairs. Black v. U.S. Postal Service, EEOC Request No. 05930748 (May 12, 1994);
 Pascale v. Department of the Navy, EEOC Petition No. 03850092 (March 5, 1986); Schnabele v.
 U.S. Postal Service, EEOC Appeal No. 01982634 (July 13, 2001); and Bono v. U.S. Postal
 Service, EEOC Appeal No. 01951113 (August 11, 1997).

 In the instant case, Complainant’s physician statements show that on or before August 1, 2018,
 she had been diagnosed with Major Depressive Disorder, General Anxiety Disorder, Panic
 Disorder, and Obsessive Compulsive Disorder, Cervical radiculopathy, cervical spondylosis, and
 cericalgia. IF, pp. 000425, 000447. The record further shows that on January 3, 2015,
 Complainant was diagnosed with Adjustment disorder with Mixed Anxiety and Depressed
 Mood, and incontinence. IF, p. 000457. The EEOC regulations conclude that Major Depressive
 Disorder substantially limits the major life activity of brain function. 29 C.F.R. § 1630.2(3)(ii-iii)
 (“Given their inherent nature, these types of impairments will, as a factual matter, virtually
 always be found to impose a substantial limitation on a major life activity. Therefore, with
 respect to these types of impairments, the necessary individualized assessment should be
 particularly simple and straightforward”).



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 Also included in the record is a signed copy of Complainant’s Physician’s statement that
 included a detailed overview of Complainant’s current psychiatric medications and side-effects,
 current diagnoses and symptoms of mental illnesses, and suggested appropriate reasonable
 accommodations.

 The Agency does not dispute awareness of Complainant’s disabilities or that Complainant was
 regarded as disabled. In fact, one of the reasons offered for the ultimate revocation of
 Complainant’s security clearance was her failure to inform Security of, and apprise of changes in
 her mental status. Thus, the record supports a determination that Complainant was deemed an
 individual with a disability during the period at issue.

 Element 2: Qualified Individual with a Disability?

 The next element of a prima facie case of disability discrimination is to establish that the
 Complainant is “a qualified individual”—that is, someone with a disability who, “with or
 without reasonable accommodation, can perform the essential functions of the employment
 position that such individual holds or desires. 42 U.S.C. §12111(8). Specifically, the regulations
 define a “qualified individual” as a person who satisfies the requisite skill, experience,
 educational, and other job-related requirements of the position the individual holds or desires and
 who, with or without reasonable accommodation, can perform the essential functions of that
 position without endangering the health and safety of the individual or others. 29 C.F.R.
 §1630.2(m). “Accordingly, a [complainant] must show either that he can perform the essential
 functions of his job without accommodation, or, failing that … that he can perform the essential
 functions of his job with a reasonable accommodation.” D’Angelo v. Conagra Foods, Inc., 422
 F.3d at 1229 (quotation marks omitted). See also 29 C.F.R. § 1630.2(o)(1)(ii) (“The term
 reasonable accommodation means:… Modifications or adjustments to the work environment, or
 to the manner or circumstances under which the position held or desired is customarily
 performed, that enable a qualified individual with a disability to perform the essential functions
 of that position…”). “If the individual is unable to perform an essential function of his job, even
 with an accommodation, he is, by definition, not a ‘qualified individual’ and, therefore, not
 covered under [the Rehabilitation Act].”

 The essential functions of a position are the fundamental job duties of the position the
 complainant holds or desires considering whether the position exists to perform the function,
 whether there are a limited number of individuals available to perform the function, or whether
 the function is highly specialized and the incumbent was hired for his expertise. 29 C.F.R.
 §1630.2(n). The Complainant has the burden of proving that he is a “qualified individual.”
 Jasany v. Postmaster General, 755 F.2d 1244 (6th Cir. 1985). The complainant must also show
 that the agency was aware of the allegedly disabling condition and that a plausible
 accommodation can be made. Mikovich v. U.S. Postal Service, EEOC Appeal No. 01A11150
 (June 20, 2002).

 Here, Complainant’s position required a SECRET level security clearance, for which it was
 determined she was no longer qualified to hold based on misconduct, reported suicidal ideations,
 failure to report mental disability and changes in the status of her disabilities to the Security
 Office, failing to follow her prescribed medication regimen, and drug use/abuse.

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 As such, we find that Complainant’s inability to retain her security clearance deemed her unable
 to perform the essential functions of her job, even with reasonable accommodation. Thus
 Complainant fails to satisfy the second element of her prima facie case of disability
 discrimination.

 Element 3: Adverse Treatment?

 It is well established that imposition of an indefinite suspension based on an inability to retain a
 security clearance is deemed an adverse personnel action reviewable by the MSPB. Therefore,
 Complainant has established the third element of her prima facie case.

 However, as Complainant failed to satisfy element 2, she fails to establish a prima facie case of
 disability discrimination.

 We recognize that Complainant’s burden to establish a prima facie case is not onerous. Whether
 or not a complainant has established a prima facie case, where management has provided a
 legitimate, nondiscriminatory explanation for its action, the factual inquiry must proceed to a
 decision on the ultimate factual issue in the case -- i.e., whether management’s actions were
 discriminatory within the meaning of [the Rehabilitation Act]. See U.S. Postal Board of
 Governors v. Aikens, 460 U.S. 711, 713-714 (1983); Hernandez v. Department of
 Transportation, EEOC Request No. 05900159 (June 28, 1990). Thus, we continue our analysis
 despite the deficiencies in Complainant’s prima facie evidence.

 Management Response

 As set forth above, management officials credibly relayed that the proposed suspension and
 removal of access was based on a variety of concerns with Complainant’s conduct and fitness to
 retain her security clearance. RMO1 relayed Complainant’s behavior indicated defective
 judgement and reliability on a regular basis, which ultimately le[d] to progressive disciplinary
 actions on record. Upon issuance the proposal to indefinitely suspend, Complainant was
 appropriately placed on administrative leave with pay until the Agency determined to issue its
 final decision to place her on indefinite suspension without pay for failure to meet a condition of
 employment; specifically, suspension of Complainant’s access to classified information and
 assignment to a sensitive position. Thus the record supports a determination that the Agency
 offered legitimate, nondiscriminatory reasons for its actions.

 The burden now returns to Complainant to show that the rationale provided was offered as mere
 pretext to mask true discriminatory animus based on disability.

 Pretext

 Once the agency produces evidence of a legitimate, nondiscriminatory reason, the presumption
 raised by the prima facie case disappears, and the agency will prevail unless the complainant
 proves, by a preponderance of the evidence, that the legitimate reasons articulated by the agency
 were not its true reasons but were, instead, a pretext for discrimination. St. Mary’s, 509 U.S. at
 519; Burdine, 450 U.S. at 256; Pavelka v. Dep’t of the Navy, EEOC Request No. 05950351, 3

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 (Dec. 14, 1995). To prove a reason is pretext for discrimination, a complainant must show that
 the reason was false, and that discrimination was the real reason. St. Mary’s, 509 U.S. at 515.
 Therefore, the fact finder must both disbelieve the employer’s articulated reason and believe
 complainant’s explanation that unlawful discriminatory animus motivated the agency’s actions.
 St. Mary’s, 509 U.S. at 519. To prove pretext, it is not enough to simply disagree with the
 agency’s actions. Alexandria P. v. U.S. Postal Serv., EEOC Appeal No. 0120150286, 4 (Oct. 20,
 2015). EEO laws “cannot prevent employers from making decisions that their employees
 disagree with, unless those decisions are rooted in a statutorily proscribed motivation.” Emilia
 Z., EEOC Appeal No. 0120142952 at 3. Additionally, mere assertions, speculations, unsupported
 beliefs, or conclusory answers are not enough to establish pretext. Complainant v. Dep’t of
 Homeland Sec., EEOC Appeal No. 01020133401, 3 (May 7, 2015); Complainant v. Dep’t of
 Agric., EEOC Appeal No. 0120130270, 3 (Sept. 18, 2015).

 Here, Complainant provided a signed declaration in rebuttal. IF, p. 1135-1169. Through this
 document, Complainant continued to argue that the misconduct cited as a factor leading to the
 indefinite suspension would not have occurred had she been granted the requested reasonable
 accommodation. Complainant insisted that RMO1 used the information she provided her about
 her illness to punish her by subjecting her to a variety of disciplinary actions and reporting
 negative things about her to NAVSEA Security, which ultimately led to the indefinite
 suspension.

 Complainant asserted that RMO1 was “the one providing all this negative information about
 Complainant” to Security and was the ultimate authority on reporting this negative information
 about her, despite her medical documentation provided to RMO1 by DCT to the contrary. IF, p.
 1140. Finally, Complainant averred that after all the negative information RMO1 provided to HR
 and Security, she got what she wanted as stated in her email ‘to break the cord’ when
 Complainant was issued the Notice of Unpaid Indefinite Suspension. She also relayed that she
 told RMO1 that she spoke to a Crisis line (which is also a suicide hotline) for help with a mental
 illness crisis she was going through, not because she was suicidal. Complainant admitted that
 she told RMO1 that she felt unsafe due to the hostile work she was experiencing under RMO1’s
 supervision, but declared that she had never been suicidal. IF, p. 1155.

 Complainant went on to argue that the Agency’s decision to initiate the review of her security
 clearance was prompted by unlawful retaliation for participating in protected activities
 (requesting reasonable accommodations) under the Rehabilitation Act – RMO1’s actions were
 directly related to her desire to “cut the cord” with Complainant. IF, p. 1158.

 We acknowledge that RMO1 engaged in less than professional behavior as management official
 by discussing Complainant’s personal information with a contractor and specifically indicating
 that she wanted to “cut the cord” with Complainant. In fact, although RMO1 averred that what
 she meant by “break the cord” was to take a particular assignment away from Complainant and
 indicated that she apologized to Complainant, the Agency appropriately addressed RMO1’s
 behavior. IF, p. 1877. Specifically, RMO2 relayed that he conducted a thorough investigation
 into Complainant’s report of the incident and found it to be credible; working with HR, RMO1
 was charged for inappropriate behavior and was issued a formal Letter of Reprimand dated Oct
 30, 2018.

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 Notwithstanding, we find RMO1’s report of Complainant’s misconduct and behavior to the
 Security office was motivated by lawful factors. The record shows that Complainant admitted to
 making statements such as feeling unsafe in the work environment and “not wanting to live like
 this anymore.” A reasonable person, hearing those comments, may have been motivated in good
 faith to report their concerns about Complainant’s behavior to the Agency’s Security division to
 ascertain whether the comments rose to the level requiring reinvestigation of their Security
 clearance and/or subsequent suspension of access to classified materials and physical worksite
 access. The additional incidents of concern were also reasonably raised and found to support the
 personnel action in dispute. Complainant’s allegation that the Agency failed to reasonably
 accommodate her disabilities is not reviewable under this venue. However, we find that even if
 the Agency granted her reasonable accommodations and said accommodations alleviated the
 circumstances leading to Complainant’s cited misconduct and subsequent disciplinary actions,
 the remaining factors cited more than warranted the initiation of a review of Complainant’s
 security clearance.

 Based on the above, we find that Complainant failed to prove that management actions were
 discriminatory in nature. Rather, the evidence supports a finding that the Agency imposed the
 indefinite suspension for an authorized reason – Complainant failed to satisfy a condition of
 employment, as the security clearance required for her position was revoked and the Agency
 decision was pending review with the DOD CAF.

 Element 2: Did the suspension have an ascertainable end?

 The September 30, 2019, Decision to Indefinitely Suspend Access to Classified Information and
 Physical Access to her workplace and the Washington Navy Yard, clearly notified Complainant
 that she was being placed on indefinite suspension for “failure to meet a condition of
 employment, i.e., suspension of your access to classified information and assignment to a
 sensitive position.” The Notice also informed Complainant she was to be on suspension until her
 Secret Security Clearance is either reinstated or until the final decision is made [by DoD CAF] to
 revoke her Clearance. IF, pp. 000189-000199.

 Thus, the indefinite suspension had a condition subsequent that would bring it to an end.

 Element 3: Does the suspension bear a nexus to the efficiency of the service?
 Element 4: Is the penalty reasonable?

 As Complainant could no longer perform her duties and the Agency determined that there
 were no other positions to which she could be reassigned while her eligibility for her
 security clearance was pending before the DOD CAF, for the efficiency of service, the
 Agency was not required to continue her employment in a paid status.

 It is well settled that an agency may indefinitely suspend an employee when access to
 classified information has been suspended and the employee needs such access to
 perform his or her job. See Rogers v. Department of Defense, 122 M.S.P.R. 671, ¶ 5.



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 Here, there is no dispute that Complainant’s position required access to classified
 information, which was revoked pending final review of the specific circumstances
 surrounding the revocation, including an appropriate review of her medical
 documentation by qualified reviewing authorities. Moreover, the record clearly reveals
 that Complainant was provided with the procedural protections specified in 5 U.S.C. §
 7513. See id., ¶ 5, as well as the procedural protections required under the Agency’s own
 regulations pursuant to 5 U.S.C. § 7701(c)(2)(A). See Palafox v. Department of Navy,
 2016 M.S.P.B. 43. Specifically, upon issuance of the proposed indefinite suspension,
 Complainant was provided an opportunity to respond to the proposal; she responded and
 provided additional medical documentation. The Deciding Official deemed her statement
 and documentation insufficient to allay the suspension decision; determined that there
 were no positions to which she could be reassigned while her clearance was revoked, and
 issued the Decision to Indefinitely Suspend pending review of the DOD CAF.

 Based on a review of the evidence in its entirety, we find that management offered legitimate
 nondiscriminatory reasons for its actions, that the decision to indefinitely suspend Complainant
 followed appropriate policy and regulatory procedures, and Complainant was appropriately
 afforded due process. Absent evidence of discrimination, it is not the role of the fact finder to sit
 as a “super-personnel department that reexamines an entity’s business decisions.” Fischbach v.
 D.C. Dept. of Corrections, 86 F.3d 1180 (D.C. Cir. 1996). We decline to do so here.

                                             DECISION

 Accordingly, we find that the Department of the Navy did not discriminate against Complainant
 based on disability as alleged.

                                      NOTICE OF RIGHTS

 This is the final decision of the Department of the Navy on Complainant’s complaint of
 discrimination. If Complainant is dissatisfied with this decision, detailed appeal rights are
 below.

                                 RIGHT TO GO TO THE MSPB

 In accordance with 29 C.F.R. § 1614.302(d), Complainant may file a Notice of Appeal with the
 Merit Systems Protection Board (MSPB) at any time up to thirty calendar days after receipt of
 this decision.

 In response to the ongoing coronavirus pandemic (COVID-19), the MSPB encourages the use of
 e-Appeal Online. Visit MSPB e-Appeal Online at https://e-appeal.mspb.gov.

 If Complainant plans to file a new appeal by paper, Complainant should know in advance that
 MSPB will be unable to docket and adjudicate the appeal if it is filed on paper during the
 ongoing coronavirus pandemic. Paper submissions will not be received by MSPB for the
 foreseeable future.

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 If Complainant chooses to file an appeal by paper, the Notice of Appeal should be addressed to:

                              Merit Systems Protection Board
                              1615 M Street, NW
                              Washington, DC 20419

 At the same time Complainant provides information to MSPB she MUST send a copy of the
 submission to the appropriate servicing EEO Office. Refer to the Certificate of Service attached
 to this decision for that address.

 Service upon the Department of the Navy of any statement or brief in support of Complainant’s
 appeal is mandatory. In or attached to the appeal to the MSPB, Complainant must certify the
 date and method by which service was made on this Office.

 An appeal shall be deemed filed on the day it is postmarked, or, in the absence of postmark, on
 the date it is received by the Merit Systems Protection Board. A copy of the MSPB Appeal
 Form 185 is enclosed.

                           RIGHT TO GO TO FEDERAL COURT

 In accordance with 29 C.F.R. § 1614.310, Complainant may file a civil action in an appropriate
 U.S. District Court:

       Within 30 calendar days of receipt of this decision unless an appeal is filed with the Merit
        Systems Protection Board in accordance with the procedures above; or

       Within 30 calendar days of receipt of notice of the final decision or action taken by the
        Merit Systems Protection Board, if Complainant does not file a petition for consideration
        with the Equal Employment Opportunity Commission; or

       Within 30 calendar days of receipt of notice that the Equal Employment Opportunity
        Commission has determined not to consider the decision of the Merit Systems Protection
        Board; or

       Within 30 calendar days of receipt of notice that the Equal Employment Opportunity
        Commission concurs in the decision of the Merit Systems Protection Board; or

       If the Equal Employment Opportunity Commission issues a decision different from the
        decision of the Merit Systems Protection Board, within 30 calendar days of receipt of the
        notice that the Merit Systems Protection Board concurs in and adopts in whole the
        decision of the Equal Employment Opportunity Commission; or

       If the Merit Systems Protection Board does not concur with the decision of the Equal
        Employment Opportunity Commission and reaffirms its initial decision or reaffirms its


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        initial decision with a revision, within 30 calendar days of receipt of notice of the
        decision of the Special Panel; or

       After 120 calendar days from the date of filing a formal complaint if there is no final
        action or appeal to the Merit Systems Protection Board; or

       After 120 calendar days from the date of filing an appeal with the Merit Systems
        Protection Board if the Merit Systems Protection Board has not yet made a decision; or

       After 180 calendar days from the date of filing a petition for consideration with the Equal
        Employment Opportunity Commission, if there is no decision by the Commission,
        reconsideration decision by the Merit Systems Protection Board, or decision by the
        Special Panel.

 Federal courts are individually coordinating with state and local health officials to obtain local
 information about the COVID-19) pandemic and some have issued orders relating to court
 business, operating status, and public and employee safety.

 Please visit the following U.S. District Courts website to access information posted to local
 district court’s websites regarding COVID-19 and court business:

 https://www.uscourts.gov/about-federal-courts/court-website-links/court-orders-and-
 updates-during-covid19-pandemic#district.

 Special Deadline for Age Discrimination Suits. As to any claim based on the Age
 Discrimination in Employment Act of 1967 (29 U.S.C. 633a), not only must Complainant file
 suit within 90 days of receipt of this decision, Complainant MAY only have SIX YEARS FROM
 THE DATE OF THE ALLEGED DISCRIMINATION TO FILE allegations of age
 discrimination in a lawsuit. See Lehman v. Nakshian, 453 U.S. 156 (1981); 29 U.S.C. 633a(f);
 and 28 U.S.C. 2401. Filing an appeal to the Commission will not stop that time from running. If
 the time limit is close to expiring, Complainant should consider whether or not Complainant
 wishes to file a civil suit. Complainant may be barred from filing such a suit, should he or she
 allow the time limit to expire, even if he or she has an appeal in process with the Commission.

 Proper Defendant. If Complainant files a lawsuit, Complainant must sue the Secretary of the
 Navy by name and title. Presently, the proper defendant is, “Thomas W. Harker, Acting
 Secretary of the Navy.” Failure to list Mr. Harker’s name and his title may result in the dismissal
 of Complainant’s case. Rule 25(d)(2), Federal Rules of Civil Procedure. Do not sue
 Complainant’s supervisor, Complainant’s unit, Complainant’s base commanders, or the
 Department of the Navy.

                                      RIGHT TO COUNSEL

 If Complainant chooses to file a lawsuit and does not have an attorney or is unable to obtain one,
 Complainant may request the court for help locating attorney representation. The clerk’s office
 of the nearest U.S. District Court is the best place to contact in order to find out if the court can

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 help Complainant locate an attorney. If Complainant cannot afford an attorney, the clerk’s office
 will explain how to request the court to appoint attorney representation without payment of any
 fees or costs.

 If Complainant needs this kind of help, Complainant should contact the court as soon as possible,
 but no later than ninety days from the date Complainant receives this decision. THE U.S.
 DISTRICT COURT WILL NOT COMPLAINANT’S DEADLINE TO FILE SUIT WHILE
 COMPLAINANT ATTEMPTS TO GET AN ATTORNEY. IF COMPLAINANT IS GOING
 TO FILE A LAWSUIT, COMPLAINANT MUST DO SO WITHIN THE APPROPRIATE
 TIME LIMIT WITH OR WITHOUT AN ATTORNEY.




                                                     DEANNER P. WHITE
                                                     Complaints Program Manager

 Enclosure:
 MSPB Appeal Form 185
 EEOC COVID-19 Notice




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                               CERTIFICATE OF SERVICE

 I hereby certify that the Agency sent the final action in the discrimination case of CARRIE
 THOMAS v. THOMAS W. HARKER, ACTING SECRETARY OF THE NAVY, Case No.
 DON 20-30270-01839, to the following parties on the date cited below:

 Via Department of Defense (DoD) Secure Access File Exchange (SAFE):

 COMPLAINANT
 Carrie Thomas
 145 N Vail Drive
 Madison Heights, VA 24572
 (202) 603-8239
 plomeeke@gmail.com

 Via electronic mail:

 SERVICING EEO OFFICE
 HQ, Deputy EEO Officer (SEA 10E)
 1339 Patterson Ave SE
 Portsmouth, VA 23709
 NAVSEAHQEEO.fct@navy.mil

 AGENCY REPRESENTATIVE
 Steven Lippman
 1333 Isaac Hull Ave SE
 Washington Navy Yard, DC 20376
 steven.lippman@navy.mil

 For timeliness purposes, we presume that the parties received this notice within five calendar
 days after issuance:




 Date: February 22, 2021
                                                   Deanner P. White
                                                   Department of the Navy
                                                   Office of Equal Employment Opportunity
                                                   614 Sicard Street SE, Suite 100
                                                   Washington Navy Yard, DC 20374-5072




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                                      FAD Key

 RMO1             Sarah Campbell, Director, Contracts and Business Operations
 RMO2             Kirk Johnson, Deputy Major Program Manager
 RMO3             John Segura, 0080, Director of Security Programs
 RMO4             Norman Ellis, 0201-03, Employee Relations Specialist
 CW1              Michael Hoskinson, Complainant’s former coworker
 CW2              Christian Johnson, Complainant’s former coworker
 SEC              Lisa Foote, head of IWS3 Security
 DCT              Randolph A. Frank, Jr., M.D., Complainant’s Psychiatrist




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